  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )          CRIMINAL ACTION NO.
        v.                              )             2:21cr49-MHT
                                        )                  (WO)
DAVID WEBB TUTT                         )

                      FORFEITURE MONEY JUDGMENT

    This       cause     comes      before          the     court     on     the

government’s        motion   for    a       forfeiture      money     judgment

against      defendant    David     Webb       Tutt    in    the    amount    of

$ 186,154.00.          Defendant        Tutt    has       consented    to    the

entry of a forfeiture money judgment in this amount.

    Being      fully     advised    of       the    relevant       facts,    the

court    hereby      finds   that       defendant         David     Webb    Tutt

obtained       at    least     $ 186,154.00           in     proceeds       from

conspiracy to which he pled guilty.

    Accordingly, it is ORDERED, ADJUDGED, and DECREED

that,    for   good    cause     shown,       the     government’s      motion

(Doc. 334) is granted.

    It is further ORDERED that, pursuant to 18 U.S.C.

§ 982(a)(2) and Rule 32.2(b)(2) of the Federal Rules of
Criminal Procedure, defendant David Webb Tutt shall be

held    liable      for    a   forfeiture         money   judgment         in   the

amount of $ 186,154.00.

       It    is   further      ORDERED       that,     upon   entry    of       this

order, it shall become a final order of forfeiture as

to the defendant.

       The    court       retains     jurisdiction        to       address      any

third-party        claim       that    may        be   asserted       in     these

proceedings, to enter any further order necessary for

the forfeiture and disposition of such property, and to

order       any   substitute     assets       forfeited       to    the    United

States       up   to   the      amount       of    the    forfeiture         money

judgment.

       DONE, this the 11th day of May, 2022.

                                         /s/ Myron H. Thompson
                                      UNITED STATES DISTRICT JUDGE




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